N Case 5:09-cr-00199-RMW Document1 Filed “Rew of 4
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UNITED ) STATES eS DISTRICT RIOURT
|
NORTHERN DISTRICT OF CARHRORNIA

RICHARD We WIEKING
“ Lee COURT
/ EF SAN JOSE DIVISION 58. usta cou

“tk

 

THE UNITED STATES OF AMERICA
VS.

ANTHONY NIETO CASTRO

 

 

 

INDICTMENT

COUNT ONE: 18 U.S.C. Section 922(G)1) - Felon in Possession of Firearm

A true bill. Bin
Cembal Le,

Foreperson

Filed in open court this_<°3 _ day of A 2B bughery

A.D. 2008

UNITED STATES MAGISTRATE JUDGE

 

 

 

 

 

 

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DISTRICT COUR:

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Case 5:09-cr-00199-RMW Document 1 Filed 02/25/09 Page 2 of 4

JOSEPH P. RUSSONIELLO (CASBN 44332) F i L E D
United States Attorney

UNITED STATES OF AMERICA, ) R we. f

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RICHARD W. WIEKIRG
CLEr
US. DISTRICT COURT

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

 

) 00199

VIOLATION: 18 U.S.C. §922(g)(1) — Felon

 

Plaintiff, )
) in Possession of Firearm
Vv. }
)
ANTHONY NIETO CASTRO, }
)
Defendant }
)
) SAN JOSE VENUE
)
INDICTMENT
The Grand Jury charges:

COUNT ONE: (18 U.S.C. § 922(g)(1) — Felon In Possession of Firearm)

1,

On or about March 23, 2007, in the Northern District of California the defendant,
ANTHONY NIETO CASTRO,

having been previously convicted of a crime punishable by a term of imprisonment exceeding

one year, did knowingly possess a firearm, to wit, a Smith and Wesson 38. caliber revolver

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INDICTMENT

RMW

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bearing serial number 167770, in and affecting commerce, in violation of Title 18 U.S.C. Section

922(g)(1).

DATED: 4 /2 5o4

AFPRUE BILL

Jf

    

JOSEPH P. RUSSONIELLO
United States Atto

  
   

DAVID R. CALLAWAY 442
Deputy Chief, San Jose Branch

(Approved as to form: )
AUSA O’Connell

INDICTMENT -2-

 

 
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AQ 257 (Rev. 6/78)

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

BY: CI COMPLAINT CI INFORMATION INDICTMENT — Name of District Court, and/or Judge/Magistrate Location

[-] surersepine

 

-———~ OFFENSE CHARGED
COUNT ONE: 18 U.S.C. §922(g)(1)- Felon in

 
 

Possession of a Firearm Ol Petty
LC] Miner
Misde-
meanor
Felony
PENALTY: on
16 years imprisonment,
$250,000 fine

 

3 years suoervised release
100.00 special assessment

 

PROCEEDING
Name of Complaintant Agency, or Person (&Title, if any)

 

S/A MARI CASCIANO-ATP

 

CT] person is awaiting trial in another Federal or State
Court, give name of court

 

this person/proceeding is transferred from another i
[| district per {circle one} FRCrP 20, 21 or 40. Show
| District

 

this is a reprosecution of
charges previously dismissed

which were dismissed on SHOW

motion of: DOCKET NG.
[_] u-s. Atty [] Defense

this prosecution relates to a

pending case involving this same

defendant MAGISTRATE
prior proceedings or irovardng CASE NO.

 

[] before U.S. Magistrate regarding
this defendant were recorded unde’

(

 

L ee
Name and Office of Person
Furnishing Information on JOSEPH P. RUSSONIELLO

THIS FORM
U.S. Atty [[] Other U.S. Agency

Name of Asst. U.S. Att'y
{if assigned)

 

THOMAS M. O'CONNELL

 

 

{ “PROCESS:
[] summons [] No PROCESS*
|

if Summons, complete following:
Cj Arraignment Initial Appearance
Defendant Address:

Nw

fo DEFENDANT - U.S.

» ANTHONY NIETO CASTRO

~~

NORTHERN DISTRIGE G4 CELIEQRNIA

 

ong FEB 25 ET )

 

6)

 

 

DISTRICT COURT NUMBER 43. DISTRICT COURT

XR = 0

—

1) If not detained give date any prior summon

2) [| Is a Fugitive
3) [[J Is on Bail or Release from (show District)

SICH RD ES ———§
CLERK

- NO. DIST. OF CA, S.J. RMW

 

 

 

~~ DEFENDANT -———-

IS NOT IN CUSTODY RS
Has not been arrested, pending outcome this proceeding.

A

 

was served on above charges

 

4) [| on this charge
5) [| On another conviction

IS IN CUSTODY

AWailing tat On OIN€4r

Awvatting } [] Feat [_] State

If answer to (6) is "Yes", show name of institution

 

Has detainer LJ Yes } ive date
been filed? [7] No filed

DATE OF Month/Day/Year

ARREST

Or... if Arresting Agency & Warrant were not
Month/Day/Year

 

DATE TRANSFERRED
TO U.S. CUSTODY

 

— eee _

CT This report amends AO 257 previously submitted

ADDITIONAL INFORMATION OR COMMENTS ——

WARRANT Bail Amount: No BAIL

*Where defendant previously apprehended on compiaint, no new summons
or warrant needed, since Magistrate has scheduled arraignment

Date/Time:

Before Judge:

 

 

 

 

 

| Comments:

 
